












Dismissed and Memorandum Opinion filed August 20,
2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-99-00085-CV

____________

&nbsp;

TURLAK SHIPPING COMPANY, INC. d/b/a MAR-TEX SHIPPING
CHARTERING AGENCY, Appellant

&nbsp;

V.

&nbsp;

TRANS PACK SERVICES, INC. and NICANOR LERREA, Appellees

&nbsp;



&nbsp;

On Appeal from the
County Civil Court at Law No. 1

Harris County,
Texas

Trial Court Cause
No. 688,442

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; O P I N I O N

On May 11, 2000, this court abated this appeal because
appellee Nicanor Larrea petitioned for voluntary bankruptcy in the United
States Bankruptcy Court for the Southern District of Texas, under cause number
00-32599-H1-7.&nbsp; See Tex. R. App. P.
8.2.&nbsp; 

Through the Public Access to Court Electronic Records (PACER)
system, the court has learned that the bankruptcy case was closed on January
30, 2001.&nbsp; The parties failed to advise this court of the bankruptcy court
action.








On July 16, 2009, this court issued an order stating that
unless any party to the appeal filed a motion demonstrating good cause to
retain the appeal within twenty days of the date of the order, this appeal
would be dismissed for want of prosecution.&nbsp; See Tex. R. App. P.
42.3(b).&nbsp; No response was filed.&nbsp; 

Accordingly, we reinstate the appeal and order it dismissed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Chief Justice
Hedges and Justices Seymore and Sullivan.





